      Case: 2:20-cv-01888-ALM-CMV Doc #: 22 Filed: 02/16/21 Page: 1 of 2 PAGEID #: 92

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5    Attorney for Plaintiff

6
                            IN THE UNITED STATES DISTRICT COURT
7                            FOR THE SOUTHERN DISTRICT OF OHIO

8    SARAH SLAUGHTER,                             §
                                                  §
9
                    Plaintiff,                    §      Civil Action No. 2:20-cv-01888-GCS-CMV
                                                  §
10
                    v.                            §
11                                                §
     REGIONAL ACCEPTANCE                          §
     CORPORATION,                                 §
12
                                                  §
13                  Defendant.                    §
                                                  §
14

15                                     STIPULATION TO DISMISS
16
     TO THE CLERK:
17
            Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the dismissal
18

19   with prejudice and with each party to bear its own costs and fees.

20

21     /s/ Brian Donald Wright                              /s/ Jacob U. Ginsburg
        Brian Donald Wright                                  Jacob U. Ginsburg Esq.
22
        Faruki Ireland & Cox PLL - 3                         Kimmel & Silverman, P.C.
        110 N. Main St., Suite 1600                          30 East Butler Pike
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25      Email: bwright@ficlaw.com                            Email: jginsburg@creditlaw.com
        Attorney for the Defendant                           Attorney for the Plaintiff
26
        Date: February 16, 2021                             Date: February 16, 2021
27

28                                                 -1-

                                         STIPULATION FOR DISMISSAL


27
      Case: 2:20-cv-01888-ALM-CMV Doc #: 22 Filed: 02/16/21 Page: 2 of 2 PAGEID #: 93

1

2                                  CERTIFICATE OF SERVICE
3
            I, Jacob U. Ginsburg, Esquire, do certify that I served a true and correct copy of the
4
     Stipulation of Dismissal in the above-captioned matter, upon the following via CM/ECF system:
5

6      Brian Donald Wright
       Faruki Ireland & Cox PLL - 3
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12   DATED: February 16, 2021                   /s/ Jacob U. Ginsburg
                                                Jacob U. Ginsburg Esq.
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                                       STIPULATION FOR DISMISSAL


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